           Case 05-73563                Doc 23       Filed 03/28/08 Entered 03/28/08 10:25:28                                 Desc Main
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                                                   United States Bankruptcy Court
                                                                     of the
                                                           Northern District Of Illinois
                                                               Western Division
                                                                  Trustee's Final Report
In Re:   RODOLFO G. PEREZ                                                                     Case Number: 05-73563
         P.O. BOX 4704                                        SSN-xxx-xx-4869
         ROCKFORD, IL 61110

                                                                                                    Case filed on:              7/15/2005
                                                                                               Plan Confirmed on:               9/16/2005
                                                                  P Discharged Paid Out

         Total funds received and disbursed pursuant to the plan: $8,610.00                              Detail of Disbursements below:

 Claim          Name of the                                     Claimed by          Allowed by              Principal          Interest
 #              Claimant                                       the Creditor          the Court                Paid               Paid
 772     CLERK OF U.S. BANKRUPTCY COURT                                0.00                0.00                   0.00            0.00
                         Total Administration                          0.00                0.00                   0.00            0.00

 000     ATTORNEY GARY C FLANDERS                                   2,200.00            2,200.00             2,200.00             0.00
                       Total Legal                                  2,200.00            2,200.00             2,200.00             0.00

 003     INTERNAL REVENUE SERVICE                                       0.00                 0.00                   0.00          0.00
                       Total Legal                                      0.00                 0.00                   0.00          0.00

 002     INTERNAL REVENUE SERVICE                                     842.32               842.32                 842.32          0.00
                       Total Priority                                 842.32               842.32                 842.32          0.00

 999     RODOLFO G. PEREZ                                               0.00                 0.00                 520.41          0.00
                        Total Debtor Refund                             0.00                 0.00                 520.41          0.00

 001     MIDFIRST BANK                                               891.68                891.68                 891.68          0.00
 015     MIDFIRST BANK                                            52,836.86                  0.00                   0.00          0.00
                              Total Secured                       53,728.54                891.68                 891.68          0.00

 002     INTERNAL REVENUE SERVICE                                      36.68               36.68                36.68             0.00
 004     ADVANCE AMERICA                                                0.00                0.00                 0.00             0.00
 005     CAPITAL ONE                                                  304.95              304.95               304.95             0.00
 006     CAPITAL ONE                                                  372.27              372.27               372.27             0.00
 007     CAPITAL ONE                                                  512.35              512.35               512.35             0.00
 008     CHECKS FOR CASH                                                0.00                0.00                 0.00             0.00
 009     COLUMBUS BANK & TRUST CO.                                      0.00                0.00                 0.00             0.00
 010     ECAST SETTLEMENT CORPORATION                                 339.21              339.21               339.21             0.00
 011     COTTONWOOD FINANCIAL                                         865.71              865.71               865.71             0.00
 012     RHONDA PEREZ                                                   0.00                0.00                 0.00             0.00
 013     ADVANCE AMERICA                                              673.00              673.00               673.00             0.00
 014     MUTUAL MANAGEMENT SERVICES                                   560.00              560.00               560.00             0.00
                       Total Unsecured                              3,664.17            3,664.17             3,664.17             0.00

                                  Grand Total:                    60,435.03             7,598.17             8,118.58             0.00

Total Paid Claimant:          $8,118.58
Trustee Allowance:             $491.42                    Wherefore, your petitioner prays that a final Decree be entered
Percent Paid Unsecured:          100.00            discharging the trustee and the trustee's surety from any and all
                                                   liablility on account of the within proceedings, and closing the estate,
                                                   and for such other relief as is just. Pursuant to FRBP, I hereby
                                                   certify that the subject case has been fully administered.

         Report Dated:

                                                                           /s/ Lydia S. Meyer
                                                                         Lydia S. Meyer, Trustee



         This is to certify that a copy of this notice has been mailed to the debtor and the debtor's attorney.


         Dated at Rockford, IL on 03/26/2008                        By /s/Heather M. Fagan
